            Case 2:20-cv-05496-TJS Document 12 Filed 12/29/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

YVETTE RODRIGUEZ                              :      CIVIL ACTION
                                              :
       v.                                     :
                                              :
LOUIS DEJOY, U.S. POSTMASTER                  :
GENERAL and U.S. POST OFFICE                  :      NO. 20-5496

                                 Memorandum Opinion

       NOW, this 29th day of December, 2020, upon consideration of the defendant’s

Motion to Transfer Venue and Continue Deadlines (Doc. No. 6), it is ORDERED that the

motion is GRANTED.

       IT IS FURTHER ORDERED that this action is transferred to the United States

District Court for the Middle District of Pennsylvania.



                                          /s/ Timothy J. Savage
                                          TIMOTHY J. SAVAGE, J.
